               Case 2:11-cr-00339-TLN Document 45 Filed 05/01/12 Page 1 of 3


 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   LEXI NEGIN, Bar # 250376
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   JENNIFER LYNN MACDOUGAL
 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )              NO. CR-S-11-339 WBS
                                           )
12                     Plaintiff,          )
                                           )              STIPULATION AND [PROPOSED] ORDERTO
13         v.                              )              CONTINUE STATUS CONFERENCE AND TO
                                           )              EXCLUDE TIME
14   DUWAYNE LEDOUX,                       )
     JENNIFER LYNN MACDOUGAL               )              Date: July 9, 2012
15                                         )              Time: 9:30 a.m.
                       Defendant.          )              Judge: William B. Shubb
16   _____________________________________ )
17          IT IS HEREBY STIPULATED by and between the parties hereto through their respective counsel,
18   Jason Hitt, Assistant United States Attorney, John Manning attorney for defendant Duwayne Ledoux, and
19   Lexi Negin, Assistant Federal Defender, attorney for defendant Jennifer Lynn MacDougal, that the status
20   conference hearing date of Monday, May 7, 2012, be vacated and a new status conference hearing date of
21   Monday, July 9, 2012, at 9:30 a.m., be set.
22          The reason for this continuance is because the parties have reached a potential resolution in the case,
23   but need additional time to work out the details.
24          It is further stipulated that the time for trial under the Speedy Trial Act should be excluded from the
25   date of the signing of this order through and including July 9, 2012, pursuant to 18 U.S.C. §3161(h)(7)(B)(iv)
26   ///
27   ///
28   ///
               Case 2:11-cr-00339-TLN Document 45 Filed 05/01/12 Page 2 of 3


 1   [reasonable time to prepare] and Local Code T4, and that the ends of justice to be served by granting the
 2   continuance outweigh the best interest of the public and the defendant to a speedy trial.
 3   Dated: May 1, 2012
 4                                                        Respectfully submitted,
 5                                                        DANIEL J. BRODERICK
                                                          Federal Defender
 6
                                                          /s/ Lexi Negin
 7                                                        LEXI NEGIN
                                                          Assistant Federal Defender
 8                                                        Attorney for Jennifer MacDougal
 9                                                         /s/ Lexi Negin for
                                                          JOHN MANNING
10                                                        Attorney for Duwayne Ledoux
11   Dated: May 1, 2012                                   BENJAMIN B. WAGNER
                                                          United States Attorney
12
                                                           /s/ Lexi Negin for
13                                                        JASON HITT
                                                          Assistant U.S. Attorney
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                                        2
                Case 2:11-cr-00339-TLN Document 45 Filed 05/01/12 Page 3 of 3


 1                                                    ORDER
 2            Based on the reasons set forth in the stipulation of the parties filed on May 1, 2012, and good cause
 3   appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT IS HEREBY ORDERED
 4   that the status conference currently scheduled for Monday, May 7, 2012, be vacated and that the case be set
 5   for Monday, July 9, 2012, at 9:30 a.m. The Court finds that the ends of justice to be served by granting a
 6   continuance outweigh the best interests of the public and the defendant in a speedy trial. Accordingly, IT IS
 7   HEREBY ORDERED that the time within which the trial of this matter must be commenced under the Speedy
 8   Trial Act is excluded during the time period of today’s date, through and including July 9, 2012, pursuant to
 9   18 U.S.C. §3161(h)(7)(B)(iv) and Local Code T4, due to the need to provide defense counsel with the
10   reasonable time to prepare taking into account due diligence.
11   Dated:    May 1, 2012
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                                          3
